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UNITED STATES DISTRICT COURT                                              USDC SDNY
SOUTHERN DISTRICT OF NEW YORK                                             DOCUMENT
                                                                          ELECTRONICALLY FILED
 GANG CHEN,                                                               DOC #:
                                                                          DATE FILED: 11/9/2020
                                 Plaintiff,

                     -against-                                  20-CV-9232 (MKV)

                                                              ORDER OF SERVICE
 CHINA GREEN AGRICULTURE INC.;
 ZHUOYU LI; YONGCHENG YANG,

                                 Defendants.

MARY KAY VYSKOCIL, United States District Judge:

       Plaintiff, who is proceeding pro se, paid the filing fees to commence this action.

       The Clerk of Court is directed to issue summonses as to Defendants Zhuoyu Li and

Yongcheng Yang. Plaintiff is directed to serve the summons and complaint on each Defendant

within 90 days of the issuance of the summons. If within those 90 days, Plaintiff has not either

served Defendants or requested an extension of time to do so, the Court may dismiss the claims

against Defendants under Rules 4 and 41 of the Federal Rules of Civil Procedure for failure to

prosecute.

       The Clerk of Court is directed to mail a copy of this order to Plaintiff, together with an

information package.

SO ORDERED.

 Dated:      November 9, 2020
             New York, New York

                                                          MARY KAY VYSKOCIL
                                                          United States District Judge
